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CSD 1173 [07/01/18]

Name, Address, Telephone No. & |.D. No.

Thomas H. Billingslea, Jr. [SBN 144483] Chapter 13 Trustee
402 West Broadway, Suite 1350

San Diego, CA 92101

(619) 233-7525 (Phone)

(619) 233-7267 (Fax)

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
325 West F Street, San Diego, California 92101-6991

In Re

DEBRA LYNN TONER
BANKRUPTCY NO. 21-04335-LA13

 

Debtor.

NOTICE OF HEARING ON OBJECTION TO CONFIRMATION
OF CHAPTER 13 PLAN AND MOTION TO DISMISS

TO: Debtor (Pro Per), United States Trustee

You are hereby notified that on January 19, 2022 ,at_11:00 a.m.,

in Department No. 2, Room 118, of the Jacob Weinberger United States Courthouse, located at 325 West F Street,

San Diego, California 92101-6991, there will be a hearing regarding the attached Objection to Confirmation of the

Debtor's Chapter 13 Plan filed by Thomas H. Billingslea, Jr., Chapter 13 Trustee
(insert Name of Objecting Party)

Any reply or other response to this objection must be served upon the undersigned and the original and one copy of

such papers with proof of service must be filed with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego,

California 92101-6991, no later than fourteen (14) days from date of service.

ty

DATED: December 2, 2021

2/ me —
ThomasH, Billingslea, Jr., Chapter 13 Trustee
[Attofriey for] Objecting Party

 

This notice must be accompanied by your written objection to the Chapter 13 Plan pursuant to LBR 3015-5

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CERTIFICATE OF SERVICE
1, the undersigned whose address appears below, certify:
That | am, and at all relevant times was, more than 18 years of age;

That on __21_ day of _December , 2021, | served a true copy of the within NOTICE OF HEARING ON
OBJECTION TO CONFIRMATION OF CHAPTER 13 PLAN AND MOTION TO DISMISS by the
mode of service shown below:

1. To Be Served by the Court via Notice of Electronic Filing (“NEF”):

Under controlling Local Bankruptcy Rules(s) (“LBR”), the document(s) listed above will be served by the
court via NEF and hyperlink to the document. On _ Cy. I. Checked the CM/ECF docket for
this bankruptcy case or adversary proceeding and determined that the following person(s) are on the Electronic Mail
Notice List to receive NEF transmission at the e-mail address(es) indicated and/or as checked below:

L | For Chpt. 7, 11, & 12 cases: V1 For ODD numbered Chapter 13 cases: [_] For EVEN numbered Chapter 13 cases:
UNITED STATES TRUSTEE THOMAS H. BILLINGSLEA, JR., TRUSTEE DAVID L. SKELTON, TRUSTEE
ustp.region1 5@usdoj.gov Billingslea@thb.coxatwork.com admin@ch13.sdcoxmail.com

dskelton13@ecf.epiqsystems.com

2. Served by United States Mail:

On December 21, 2021 , | served the following person(s) and/or entity(ies) at the last known

address(es) in this bankruptcy case or adversary proceeding by placing accurate copies in a sealed envelope in the
United States Mail via 1) first class, postage prepaid or 2) certified mail with receipt number, addressed as follows:

DEBTOR (PRO PER)
DEBRA LYNN TONER
3139 MT WHITNEY RD.
ESCONDIDO CA 92029

US TRUSTEE

DAVID ORTIZ-TRIAL ATTORNEY
OFFICE OF THE U.S. TRUSTEE
880 FRONT STREET

THIRD FLOOR, SUITE 3230

SAN DIEGO, CA 92101

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3.

Served by Personal Delivery, Facsimile Transmission, Overnight Delivery, or Electronic Mail:

Under Fed.R.Civ.P.5 and controlling LBR, on

, | served the following person(s)

and/or entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile
transmission, by overnight delivery and/or electronic mail as follows:

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| declare under penalty of perjury under the laws of the United States of America that the statements made

in this proof of service are true and correct.

Executed on

December 21, 2021
(Date)

     
 

a
/s/ Bernice A. Villarreal
(Typed Name and Signature)

402 West Broadway, Suite 1350
(Address)

San Diego, CA 92101
(City, State, ZIP Code)
